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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS

 BARCLAYS TRUST,

                       Plaintiff,                  Case No. 20-cv-947

              v.
                                                   District Judge Robert Pitman
 NATIN PAUL; WORLD CLASS HOLDING
 COMPANY, LLC; and WORLD CLASS
 MANAGEMENT COMPANY, LLC,

                       Defendants.




                       STIPULATION FOR VOLUNTARY DISMISSAL

            IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Barclays

 Trust and Defendants Natin Paul, World Class Holding Company, LLC, and World Class

 Management Company, LLC (collectively, the “Parties”) that Defendant Natin Paul is voluntarily

 dismissed with prejudice from the above-captioned matter pursuant to Federal Rule of Civil

 Procedure 41(a)(1)(A)(ii) and Defendants World Class Holding Company, LLC and World Class

 Management Company, LLC are acknowledged to have satisfied the Consent Judgment and all

 other fees and costs owed by Court order through this litigation, except and provided that the

 Parties agree that neither this Stipulation nor any statutory or equitable limitations period (e.g.,

 statute of limitations or laches) will bar any claim by Barclays Trust (or any of its affiliates)

 against any of the Defendants in the event that any person files a claim against Barclays Trust (or

 any affiliate of Barclays Trust) seeking to obtain, receive, or reverse any part of any payment

 made to Barclays Trust to satisfy all or part of the Consent Judgment previously entered in this

 lawsuit.



SO STIPULATED,
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/s/ Eric J. Cassidy                         /s/ Jonathan W. Haray

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                                             Attorneys for Plaintiff Barclays Trust


/s/

Natin Paul, individually
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 23, 2022, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will send notification of such filing via electronic mail
to all counsel of record. Any other counsel of record will be served by first class U.S. mail.

                                              /s/ Brett Solberg
                                              Brett Solberg




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